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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

CHRISTOPHER JOHNSON,                              §
                                                  §
         Plaintiff,                               §
VS.                                               §   CIVIL ACTION NO. 4:19-CV-02996
                                                  §
XCALIBER LOGISTICS,                               §
                                                  §
         Defendant.                               §

                                      NOTICE OF SETTING

       The parties are hereby notified that a status conference regarding docket call is set for

December 2, 2021 at 9:00 a.m. and will be handled as a telephone conference. The parties are

directed to contact the Court at the number provided in order to participate in the conference call.



                              Conference number: 713-250-5126

                              Conference ID: 45126#

                              Conference Password: 13579#




Date: November 17, 2021                                      NATHAN OCHSNER, CLERK

                                                             By: C. Horace, Case Manager to
                                                                 Judge Kenneth M. Hoyt




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